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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
      Plaintiff,                               )
                                                )
v.                                             ) Cause No. 4:07CR399(JCH)
                                               )
DEMETRIUS BLACKMON,                            )
                                               )
      Defendant.                               )



                                             ORDER
       IT IS HEREBY ORDERED that Carter Collins Law, 141 N. Meramec Avenue, Suite 20,

St. Louis, MO 63105 (314) 721-7095, is appointed to represent Defendant Demetrius Blackmon in

this cause of action.

       IT IS FURTHER ORDERED that upon request the United States District Court Clerk's

Office is directed to provide Defendant's newly appointed counsel any documents deemed necessary

in preparation for future proceedings.



       Dated this 8th day of February, 2008.



                                                     \s\ Jean C. Hamilton
                                               UNITED STATES DISTRICT JUDGE
